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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

FOAMEX INTERNATIONAT. INC., ef al, Case No. 05-12685 (PIW)

Debtors. (Jointly Administered)

Ref. Docket No, 1575

ORDER PURSUANT TO BANKRUPTCY CODE SECTIONS 1035 AND 363: (A)
APPROVING THE CONTRACT FOR THE SALE OF CERTAIN REAL PROPERTY; (B)
APPROVING THE DEBTORS SALE OF CERTAIN REAL PROPERTY SUBJECT TO
HIGHER OR BETTER OFFERS; (C) AUTHORIZING THE DEBTORS TO
EXERCISE A CERTAIN PURCHASE OPTION; AND (D) GRANTING RELATED RELIEF
Upon the Motion For an Order Pursuant to Bankruptcy Code Sections 105 and 363: (A)
Approving the Contract for the Sale of Certain Real Property; (B) Approving the Debtors Sale of
Certain Real Property Subject to Higher or Better Offers; (C) Authorizing the Debtors to
Exercise a Certain Purchase Option; and (D) Granting Related Relief (the “Motion”), filed by
the above-captioned debtors and debtors-in-possession (the “Debtors”), and the Debtors and the
Buyer! having agreed to enter into the Sale Contract, a copy of which is hereto annexed as
Exhibit A; and due and sufficient notice having been given to al] parties-in-interest, and any
objections to the relicf requested in the Motion having been withdrawn or resolved and to the
extent not withdrawn or resolved, are hereby overruled; and it appearing that entry into the Sale

Contract and sale of the Property to the Buyer, are in the best interests of the Debtors, their

estates, creditors and other parties-in-interest; and sufficient cause appearing therefor,

 

' Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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IT IS HEREBY FOUND AND DETERMINED THAT:

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It is in the best interests of the Debtors, the Debtors’ estates, their
creditors, and other parties-in-interest to grant the rclief requested in the
Motion and authorize the Debtors 1o exercise the Purchase Option and to
enter into the Sale Contract;

‘To the extent any inconsistency arises as between this Order and the Sale
Contract, this Order shal! control;

The Sale Contract was negotiated, proposed and entered into by the
Debtors and Buyer in good faith and from arm’s length bargaining
positions;

The Purchase Price to be paid by Buyer under the Salc Contract has been
subjecied to higher and better offers through a process reasonably
calculated to attract other potential purchasers. The Purchase Price is fair
and reasonable, is the highest or otherwise best offer for the Property, and
constitutes reasonably equivalent value and reasonable markel value for
the Property;

‘The Buyer is a buyer in good faith with respect to the Property, as that
term is used in 11 U.8.C. § 363(m). The Buyer meets the standards of
“sood faith” which were enumerated by the United States Court of
Appeals for the Third Circuit in In re Abbotts Dairies of Pa., Inc., 788
F.3d 143 (3d Cir. 1986);

As acondition to purchasing the Property, Buyer requires the Property he
sold free and elcar of all liens, claims, interests, or encumbrances thereon
and any presently existing liens; and

All of the requirements of 11 U.S.C. § 363 have been met with respect to
the Sale.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

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The relief requested in the Motion is granted;
The Debtors are authorized to exercise the Purchase Option;

The Sale Contract, each of its terms and conditions, and each of the
transactions contemplated therein are approved in their entirety;

Pursuant to 11 U.S.C. § 363(b), the Debtors are authorized to perform
their obligations under and comply with the terms of the Sale Contract and
consummate the sale of the Property to the Buyer pursuant to and in
accordance with the terms and conditions of the Sale Contract;

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The Debtors are authorized to execute and deliver, and empowered to
perform under, consummate and implement, the Sale Contract, together
with all additional instruments and documents that may be reasonably
necessary ot desirable to implement the Sale Contract, and to take all
further actions as may be requested by the Buyer for the purpose of
assigning, transferring, granting, conveying and conferring to the Buyer
the Property, or as may be necessary or appropriate to the performance of
the obligations as contemplated by the Sale Contract;

Notwithstanding anything set forth to the contrary in the Sale Contract, the
Buyer understands and agrees that the Debtors are conveying their rights
to the Property “as is”, exccpt as otherwise set forth in the Sale Contract;

Pursuant to 11 U.S.C. § 363(f), the sale by the Debtors of the Property to
the Buyer is free and clear of all liens, claims, interests, or encumbrances
thereon and any presently existing liens;

The Buyer 1s hereby deemed to be a good faith purchaser of the Property
and is entitled to the protections of 11 U.S.C. § 363(m);

The Debtors are authorized to pay the Brokerage Fee im the amount of six
percent (6%) for the first $1,000,000 of the Purchase Price, and three
percent (3%) for any additional amount;

The ten (10) day stay pursuant to Bankruptcy Rule 6004(g) is waived, this
Order shall be effective immediately;

The Debtors and the Buyer are authorized to take any and all actions as
may be necessary or desirable to implement the Sale Contract and each of
the transactions contemplated thereunder; and

This Court hereby retains jurisdiction over the Buyer and the Debtors to
enforce the Sale Contract.

Wilmington, Delaware

Dated:
, 2006

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Peter J. Walsh
United States Bankruptcy Judge

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